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February 22, 2019

VIA ECF
Honorable Andrew T. Baxter
U.S. Magistrate Judge
Federal Building and U.S. Courthouse P.O. Box 7396
Syracuse, New York 13261-7396

Re: Acosta v. Liberty Gas Station and Convenience Store, LLC et al. (5:17-cv-00561-BKS-ATB)

Dear Honorable Judge Baxter:

Please know, I am just zealously representing my client. I have to, no choice, within all legal and ethical
bounds, I swore an Oath to the Constitution. I am just a legal executioner, I execute the law on behalf of
my client. My client wants to defend his honor. I am smart, I know about the Fifth Amendment and how
to invoke it so we can end the Plaintiff’s Counsel’s silly games. His family wants to move on.

I will continue to use my Thunder God references, because the U.S. Constitution gives me the legal power
of a Thunder God and more, to zealously represent my client. If Plaintiff’s counsel has a problem, I am
happy to argue it, but not with motions. Oral argument only. Please your, Honor, I am going against the
Government, and will use the special protections that the U.S. Constitution grants us, including free speech
and the establishment clause.

You are a federal judge, the coolest most amazing thing. The People are scared of Federal Judges, change
that. Love is always stronger than fear. Show us some respect on the record please.

I promise everyone, if I get my jury trial, those who witness this jury trial, the Plaintiff and his Counsel
will think of my name the next time they See Lighting and Hear Thunder. The U.S. Constitution is that
powerful. E pluribus unum.

Respectfully submitted,

s/ Anas Saleh, Esq.
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